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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                               CASE NO.: 1:07-CR-001-SPM

CHARLES THEODORE WATSON,

           Defendant.
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                     ORDER CONTINUING SENTENCING

      THIS CAUSE comes before the Court upon the “Defendant’s Unopposed

Motion to Continue Disposition” (doc. 76) filed on June 27, 2007. The Government

is unopposed to the granting of the motion.

      Finding good cause for the request, it is

      ORDERED AND ADJUDGED as follows:

      1.     The motion to continue (doc. 76) is hereby granted.

      2.     Sentencing is reset for Monday, August 6, 2007 at 1:30pm at the

             United States Courthouse in Gainesville, Florida.

      DONE AND ORDERED this twenty-ninth day of June, 2007.



                                    s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
